STATE OF NORTH CAROLINA IN THE GENERAL COURT OF JUSTICE

 

 

SUPERIOR COURT DIVISION
COUNTY OF BURKE = FILENO. (4 WS (ATG
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WSKXE CO., 08.6.
DARRELL JEFFREY FORTUNE, ~ ~~" ~)
rn ye
Plaintiff, )
) COMPLAINT FOR DAMAGES, AND
vs, ) DECLARATORY AND INJUNCTIVE
) RELIEF
GAYLOR ELECTRIC, INC., )
JUSTIN BAKER, individually, )
)
Defendants. }
)

 

Plaintiff, Darrell Jeffrey Fortune, complains and alleges as follows:
THE PARTIES

1, Plaintiff, Darrell Jeffrey Fortune (herein “Plaintiff” or “Fortune”), is, and at all
times material herein was, a resident of Burke County, and a citizen of North Carolina.

2. Defendant Gaylor Electric, Inc., (herein “Defendant Gaylor Electric” or “Gaylor
Electric”) is, and at all times material herein was, a corporation incorporated in Indiana, and
authorized to do business in North Carolina, and engaged in electrical contracting with an office
located in Mooresville, North Carolina, and within Iredell County.

3. Defendant Justin Baker (herein “Defendant Baker” or “Baker”) is, on information
and belief; a resident of Iredell County, and a citizen of North Carolina. At all times material
herein, Defendant Baker occupied the position of Executive Vice-President, Southeast Region, at
Defendant Gaylor Electric’s office located in Mooresville, North Carolina, and within Iredell

County.
JURISDICTION

4, This is a civil action of which this Court has subject-matter jurisdiction under the
Fair Labor Standards Act, 29 U.S.C. § 216(b); the Family and Medical Leave Act, 29 U.S.C.
§2617(a)(2); the North Carolina Retaliatory Employment Discrimination Act, N.C. Gen. Stat.
§ 95-243(a); and N.C. Gen. Stat. § 7A-243 in that the amount in controversy exceeds $25,000.

a At all times material herein, Defendant Gaylor Electric was an “[e]nterprise
engaged in commerce” for purposes of the Fair Labor Standards Act in that it had employees
engaged in interstate commerce, or had employees handling, selling, or otherwise working on

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goods or materials that had been moved in or produced for interstate commerce by any person,
and had an annual gross volume of sales in excess of $500,000. 29 U.S.C. § 203(r) and

§203(s)(1).

6. At all times material herein, Defendant Gaylor Electric engaged in interstate
commerce, and employed more than fifty (50) employees for each working day during each of
20 or more calendar workweeks within the current or preceding calendar year. Defendant
Gaylor Electric is, therefore, an “employer” within the meaning of the FMLA, 29 U.S.C.

§2611(4).

7. The Retaliatory Employment Discrimination Act (herein “REDA”) provides that
following issuance of a right-to-sue letter by the North Carolina Commissioner of Labor, an
employee may commence an action in the Superior Court of the county where the violation
occurred, where the complainant resides, or where the defendant resides or has its principal place
of business. N.C. Gen. Stat. § 95-243(a)

8. Plaintiff has satisfied ali mandatory administrative prerequisites to filing his claim
under REDA, to wit:

(a) employment discrimination complaints were filed against Defendants with the
Employment Discrimination Bureau of the North Carolina Department of Labor on or about

February 21, 2018; and

(b) _ notifications of the right-to-sue from the North Carolina Department of Labor
were issued to Plaintiff on or about August 1, 2019, and this Complaint is being filed within
ninety (90) days of the receipt of the same. True and correct copies of the North Carolina
Department of Labor’s notifications of right-to-sue are attached hereto as Exhibit A.

VENUE

9. Venue is proper in the Superior Court for Burke County, North Carolina under
N.C. Gen. Stat. § 1-80; 1-82; and § 95-243(a).

FACTS SUPPORTING EACH CLAIM

10. _— Plaintiff began working for Defendant Gaylor Electric, at its Mooresville,
North Carolina offices, located at 177 Knob Hill Road, Mooresville, North Carolina, on or about

March 28, 2016.

11. Plaintiff was involuntarily terminated from employment with Defendant Gaylor
Electric on or about October 4, 2017.

12. Plaintiff was employed by Defendant Gaylor Electric for at least twelve (12)-
months, and for at least 1,250 hours during the twelve (12)-month period immediately preceding
the date he commenced leave, as described herein.

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13. At all times during his employment, Plaintiff was employed as a project engineer,
and was required to report to work at Defendant Gaylor Electric’s offices located in Mooresville,

North Carolina.

14. Plaintiff worked at a worksite where Defendant Gaylor Electric employed at least
50 employees within a 75-mile radius.

15. Plaintiff received an initial starting annual salary of approximately $50,000. After
approximately six (6) months of employment, he received a $10,000 increase in his annual
salary. At his one-year anniversary date, Fortune received a salary increase of $2,000, so that his
annual salary was $62,000 at his termination.

16. At all times during his employment, Defendant Gaylor considered Plaintiff as
“exempt” under the provisions relating to the payment of overtime under the Fair Labor
Standards Act,

17. At all times material herein, Defendant Baker was the Executive Vice-President,
Southeast Region, of Defendant Gaylor Electric.

18. As the Executive Vice-President, Southeast Region, of Defendant Gaylor Electric,
Defendant Baker had the authority to exercise the following control over Plaintiff: (a) hire and/or
fire Plaintiff; (b) supervise and/or control Plaintiff's work schedule and conditions of
employment; (c) determine Plaintiff's compensation and method of payment of compensation;
and (d) maintain Plaintiff's employment records.

19, At all times material herein, Defendant Gaylor Electric maintained a “Paid Time
Off” (herein “PTO”) policy under which Plaintiff was allowed seven (7) days of PTO in 2017.

20. As of Monday, September 25, 2017, Plaintiff had exhausted all PTO available to
him for that year.

21. On September 25, 2017, Plaintiff developed a severe toothache as a result of a
crown breaking below his gum line.

22. On that date, Plaintiff left work at approximately 10:45 a.m., with permission, for
a dental appointment.

23. On that date, Plaintiff was examined by ‘odd Kincer, DDS, who determined that
Plaintiff's lower wisdom teeth were impacted, and needed to be removed as soon as possible.

24. Plaintiff made an appointment with an oral surgeon, Bryan R. Neuwirth, DDS,
MD, for Tuesday, September 26, 2017.

25. On September 26, 2017, Plaintiff worked until approximately 1:30 p.m., at which
point he left work, with permission, for the appointment with Dr. Neuwirth.

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26. During the appointment on September 26, 2017, Dr. Neuwirth, scheduled oral
surgery for Plaintiff for Wednesday, September 27, 2017.

27. Plaintiff advised Defendant Gaylor Electric’s management about the upcoming
surgery on September 27, 2017, and his need to take time off from work.

28. On September 27, 2017, Plaintiff had oral surgery, during which his impacted
wisdom teeth were removed.

29, On September 27, 2017, Dr. Neuwirth issued Plaintiff a memorandum to the
attention of Defendant Gaylor Electric and Fortune’s immediate supervisor, Russ Hullinger,
stating that Fortune had oral surgery on September 27, 2017, and should be excused from work

on September 27 and 28, 2017.

30. Plaintiff provided the memorandum from Dr. Neuwirth dated September 27,
2017, to Defendant Gaylor Electric upon his return to work.

31. Plaintiff took the day off from work, with permission, on September 27, 2017, for
the oral surgery.

32. On Thursday, September 28, 2017, Plaintiff was experiencing significant pain
from the oral surgery, but nevertheless reported to work briefly for a monthly meeting with his
managers in order to review his projects.

33. At the conclusion of the meeting, and after completing some paperwork, Plaintiff
was allowed to return home for the remainder of the day, with the permission of Defendant

Baker.

34. On Friday, September 29, 2017, Plaintiff continued to experience significant pain
from the wisdom teeth extraction, and was unable to report to work, or perform other regular
daily activities, including but not limited to driving without impairment.

35. On that date, Plaintiff sent a text message to his immediate supervisor,
Russ Hullinger, stating that he was unable to report to work, and requesting permission to work
away from the office.

36. Ross Hullinger called Plaintiff in response to the text message, and advised
Fortune that he could work away from the office on that date.

37. Plaintiff worked away from the Defendant Gaylor Electric’s offices from
approximately 7:00 a.m. until approximately 2:40 p.m. on September 29, 2017.

38. Plaintiff was off from work over the weekend of Saturday through Sunday,
September 30 — October 1, 2017.

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39. Plaintiff continued to experience significant pain from the wisdom teeth
extraction, and was unable to perform any work, or regular daily activities, including but not
limited to driving without impairment, over the weekend of September 30 — October 1, 2017.

40. On Monday, October 2, 2017, Plaintiff vomited in his car during his commute to
work.

41. On October 2, 2017, Plaintiff called Defendant Gaylor Electric’s attendance line,
and left a message that he would be unable to report to work that day because of the continuing
pain from the tooth extraction.

42, On October 2, 2017, Plaintiff was unable to perform any work or regular daily
activities.

43. On Tuesday, October 3, 2017, Plaintiff appeared for work at his regular time, and
worked the entire day.

44, Qn the morning of October 3, 2017, Plaintiff received an e-mail from Kathy Paris,
a corporate administrative assistant, stating that PTO leave had been approved for
September 27 — 29, 2017, even though Fortune had previously exhausted his allotted PTO leave,
and had no PTO leave available to him for those dates.

45. After receiving the aforementioned e-mail, Plaintiff called Kylie Burrell, a

human-resources representative at Defendant Gaylor Electric’s headquarters, located in
Indianapolis, Indiana. During the conversation, Burrell informed Fortune that a PTO form had

been submitted for him, even though he was unaware of that fact.

46. Later that same day, Plaintiff called Jean Benfield, an administrative assistant to
Defendant Baker, who informed Fortune that Baker had directed her to submit a PTO form for

him.

47, On October 3, 2017, Plaintiff was directed to attend a meeting with Defendant
Baker, Ross Hullinger, and Ron Clayton, who was the firm’s general superintendent.

48. During the meeting, Plaintiff was told that a PTO form had been completed for
Fortune for the dates of Wednesday through Friday, September 27 — 29, 2017, because he did not
work an entire workday on those dates. Defendant Baker further stated that Fortune would only

be paid for twenty (20) hours of work that week.

49. During the meeting, Plaintiff disputed the proposed compensation for twenty (20)
hours, and told Defendant Baker, Ross Hullinger, and Ron Cayton that he was entitled to be paid
for thirty-two (32) hours because he had worked all or part of the workday on each day during
the period of Monday — Tuesday and Thursday — Friday, September 25 — 26 and 28 — 29, 2017.

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50. Plaintiff and the managers at the meeting were unable to reach agreement on the
proper compensation of Fortune for the period of Monday — Tuesday and Thursday — Friday,
September 25 — 26 and 28 — 29, 2017.

51. On Wednesday, October 4, 2017, at approximately 9:20 a.m., Plaintiff sent an
e-mail to Kathy Paris and Kylie Burrell, stating that he was entitled to be paid his full salary for
the period of Monday — Tuesday and Thursday — Friday, September 25 — 26 and 28 — 29, 2017,
without any deductions. Fortune did not receive any response to the first e-mail, so he sent a
second e-mail, at approximately 11:30 a.m. that same day, asserting the same claim, and
clarifying the dates for which he should have been paid.

52. Shortly after Plaintiff sent the second e-mail on October 4, 2017, Defendant Baker
entered Fortune’s office, along with Westin Short, who was vice-president of engineering, and
told Fortune that the company was going to pay him for forty (40) hours of work for the previous
week, but that he was terminated immediately.

53. Plaintiff asked Defendant Baker and Short for the reason for his termination, but
never received an answer, and left the office after retrieving his personal property.

54. On information and belief, Defendants Gaylor Electric and Baker jointly made the
decision to terminate Plaintiff.

55. | Asadirect and proximate result of Defendants’ actions, Plaintiff has suffered, and
will continue to suffer, the loss of wages and benefits that he earned, and expected to earn, from
his employment at Defendant Gaylor Electric.

56. As adirect and proximate result of Defendants’ actions, Plaintiff has suffered
emotional distress, including but not limited to humiliation, anxiety, grief, and sleeplessness.

57. Defendants’ termination of Plaintiff was willful, and malicious, and with
knowledge that his termination was in violation of applicable federal and state law.

FIRST CLAIM
FOR VIOLATION OF THE FAIR LABOR STANDARDS ACT
(Against All Defendants)

As a first, separate, distinct and independent claim, Plaintiff complains of Defendants, as
follows:

58. Plaintiff hereby incorporates, by reference, as though fully set forth herein each
and every allegation of paragraphs 1 through 57, inclusive of this Complaint.

59.  Atall times material herein, Plaintiff was an “employee” as defined in the Fair
Labor Standards Act, 29 U.S.C. § 203(e)(1).

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60. At all times material herein, Plaintiff was a salaried employee whose
compensation and job duties as a project engineer qualified him as “exempt” from the overtime
provisions of the Fair Labor Standard Act, 29 U.S.C. § 213(a){1).

61. Atall times material herein, Defendant Gaylor Electric was an “employer” as
defined in the Fair Labor Standards Act, 29 U.S.C. § 203(d).

62. At all times material herein, Defendant Gaylor Electric was an “[e|nterprise
engaged in commerce” as defined in the Fair Labor Standards Act, 29 U.S.C. § 203(b), (r)(1),

and (s)(1).

63. At all times material herein, Defendant Baker was a person acting directly or
indirectly in the interest of Defendant Gaylor Electric, and had the authority to exercise the
following control over Plaintiff: (a) hire and/or fire Plaintiff; (b) supervise and/or control
Plaintiffs work schedule and conditions of employment; (c) determine Plaintiff's compensation
and method of payment of compensation; and (d) maintain Plaintiff's employment records.

64. Plaintiff was entitled to payment for thirty-two (32) hours of work for the period
of Monday — Tuesday and Thursday — Friday, September 25 — 26 and 28 — 29, 2017.

65. Plaintiff rejected Defendants’ proposed compensation for twenty (20) hours of
work for the period of Monday — Tuesday and Thursday — Friday, September 25 ~ 26 and 28 —

29, 2017.

66. Defendants’ proposal to compensate Plaintiff for twenty (20) hours of work for
the period of Monday — Tuesday and Thursday — Friday, September 25 - 26 and 28 — 29, 2017,
constituted an illegal partial-day deduction from his salary under the Fair Labor Standards Act.

67. Plaintiff objected, orally and electronically, and in good faith, to the proposed
deduction from his salary .

68. Plaintiff demanded, orally and electronically, and in good faith, payment of his
salary for thirty-two (32) hours of work for the period of Monday — Tuesday and Thursday -
Friday, September 25 — 26 and 28 — 29, 2017.

69. Defendants terminated Plaintiff in retaliation for his objections to the Defendants’
proposed compensation for twenty (20) hours of work for the period of Monday ~ Tuesday and

Thursday — Friday, September 25 ~ 26 and 28 — 29, 2017.

70. Defendants terminated Plaintiff in retaliation for his demands to be paid for thirty-
two (32) hours of work for the period of Monday — Tuesday and Thursday — Friday,
September 25 — 26 and 28 — 29, 2017.

71. Defendants’ termination of Plaintiff was unlawful, and in retaliation for protected
activity under the Fair Labor Standards Act, 29 U.S.C. § 215(a)(3).

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WHEREFORE, Plaintiff seeks the following relief:

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an order enjoining Defendants from further violations of the Fair Labor Standards
Act;

an order directing that Plaintiff be reinstated to his previous or an equivalent
position with Defendant Gaylor Electric, with the salary and benefits to which he
would have been entitled, absent his termination, or alternatively, an order making
Plaintiff whole by awarding him front pay in an amount deemed appropriate by
the Court;

an order awarding Plaintiff back pay (including fringe benefits) from the
date of the illegal acts through the date of trial, or alternatively, making
Plaintiff whole by awarding him front pay in an amount deemed
appropriate by the Court;

an order awarding Plaintiff compensatory damages for his humiliation,
embarrassment, anger, anxiety, and prief:

an order awarding Plaintiff liquidated damages;
an order awarding Plaintiff punitive damages;

a jury trial on this claim;

an order awarding Plaintiff pre-judgment and post-judgment interest in an
amount determined at the time of trial;

an order awarding Plaintiff all attorney’s fees, expert witness fees and
costs of this action; and

an order awarding Plaintiff such other and further relief as this Court
deems appropriate.

SECOND CLAIM

FOR INTERFERENCE WITH PLAINTIFF’S RIGHTS UNDER THE

FAMILY AND MEDICAL LEAVE ACT
(Against All Defendants)

As a second, separate and distinct claim, Plaintiff complains of Defendants as follows:

72.

Plaintiff hereby incorporates by reference as though fully set forth herein each and

every allegation of paragraphs 1 through 57, inclusive, of this Complaint.

73.

Plaintiff worked for Defendant Gaylor Electric at least 1,250 hours within the

twelve (12) months prior to the date that he qualified for leave under the FMLA; worked at a

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worksite at which Gaylor Electric employed at least 50 employees within a 75 mile radius; and
was, therefore, an “eligible employee” as defined by the FMLA, 29 U.S.C. §2611(2).

74,  Atall times material herein, Defendant Baker was a person acting directly or
indirectly in the interest of Defendant Gaylor Electric, and had the authority to exercise the
following control over Plaintiff: (a) hire and/or fire Plaintiff; (b) supervise and/or control
Plaintiff's work schedule and conditions of employment; (c) determine Plaintiff's compensation
and method of payment of compensation; and (d) maintain Plaintiff's employment records.

75, Plaintiff suffered from a “serious health condition” as defined in the FMLA, 29
U.S.C. § 2611(11), and the applicable regulations.

76. Plaintiff was entitled to leave pursuant to the FMLA, at least beginning on or
about September 27, 2017. 29 U.S.C. § 2612(a)(1)(D).

77. Defendants interfered with, restrained, and/or denied Plaintiffs rights under the
FMLA by, inter alia, failing to provide Plaintiff with adequate notice of his rights and
responsibilities under the FMLA following Fortune’s notice of his need to take time off because
of his serious health condition; failing to provide Fortune with the leave to which he was entitled
under the FMLA; failing to reinstate Fortune to his previous or an equivalent position;
terminating Fortune’s employment when he sought to take leave under the FMLA; and
terminating Fortune in retaliation for his use of FMLA leave. 29 U.S.C. § 2615(a)(1).

78. Asa direct and proximate result of the wrongful acts of Defendants, Plaintiff has
suffered substantial losses in earnings and benefits, which he would have received except for
Defendants’ misconduct.

WHEREFORE, Plaintiff seeks the following relief:

(a) an order enjoining Defendants from engaging in further acts of interference with
Plaintiff and other employees in the exercise of their rights under the FMLA;

(b) an order directing that Plaintiff be reinstated to his previous position as project
engineer at Defendant Gaylor Electric’s Mooresville, North Carolina facility, or a
comparable position thereto, with the salary and benefits to which he would have
been entitled, absent his termination, or alternatively, an order making Plaintiff
whole by awarding him front pay in an amount deemed appropriate by the Court;

(c) an order awarding Plaintiff back pay (including fringe benefits) from the date of
the wrongful acts alleged through the date of trial;

(d} ajury trial on this claim;

(e) an order awarding Plaintiff prejudgment interest and post-judgment interest in an
amount and at a rate to be determined at the time of trial;

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(f) an order awarding Plaintiff all attorney’s fees, expert witness fees, and costs of
this action; and

(g) an order awarding Plaintiff such other and further relief as this Court deems fit.

THIRD CLAIM
FOR DISCRIMINATION/RETALIATION AGAINST PLAINTIFF UNDER THE
FAMILY AND MEDICAL LEAVE ACT
(Against All Defendants)

Asa third, separate and distinct claim, Plaintiff complains of Defendants as follows:

79. Plaintiff hereby incorporates by reference as though fully set forth herein each and
every allegation of paragraph 1 through 57, inclusive of this Complaint.

80. Plaintiff worked for Defendant Gaylor Electric at least 1,250 hours within the
twelve (12) months prior to the date that he qualified for leave under the FMLA; worked at a
worksite at which Gaylor Electric employed at least 50 employees within a 75 mile radius; and
was, therefore, an “eligible employee” as defined by the FMLA, 29 U.S.C. §2611(2).

81. Atail times material herein, Defendant Baker was a person acting directly or
indirectly in the interest of Defendant Gaylor Electric, and had the authority to exercise the
following control over Plaintiff: (a) hire and/or fire Plaintiff, (b) supervise and/or control
Plaintiff's work schedule and conditions of employment; (c) determine Plaintiff's compensation
and method of payment of compensation; and (d) maintain Plaintiff's employment records.

82. Plaintiff suffered from a “serious health condition” as defined in the FMLA, 29
U.S.C. § 2611(11), and the applicable regulations.

83. Plaintiff was entitled to leave pursuant to the FMLA, at least beginning on or
about September 27, 2017. 29 U.S.C. § 2612(a)(1)(D).

84. Defendants discriminated and/or retaliated against Plaintiff by, inter alia, denying
Plaintiff family and medical leave to which he was entitled under the FMLA; failing to reinstate
Plaintiff to his previous or an equivalent position; terminating Plaintiffs employment when he
sought to take leave under the FMLA to care for his own serious health condition; terminating
Fortune in retaliation for his use of FMLA leave; and terminating Fortune for his opposition to

Defendants’ unlawful employment practices under the FMLA. 29 U.S.C. § 2615 (a){2).

85. Asa direct and proximate result of the wrongful acts of Defendants, Plaintiff has
suffered substantial losses in earnings and benefits, which he would have received except for
Defendants’ misconduct.

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WHEREFORE, Plaintiff seeks the following relief:

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an order enjoining Defendants from engaging in further acts of discrimination
against Plaintiff and other employees as a result of the exercise of their rights
under the FMLA;

an order directing that Plaintiff be reinstated to his previous position as project
manager at Defendant Gaylor Electric’s Mooresville, North Carolina facility, or a
comparable position thereto, with the salary and benefits to which he would have
been entitled, absent his termination, or alternatively, an order making Plaintiff
whole by awarding him front pay in an amount deemed appropriate by the Court;

an order awarding Plaintiff back pay (including fringe benefits) from the date of
the discriminatory acts alleged through the date of trial;

a jury trial on this claim;

an order awarding Plaintiff prejudgment interest and post-judgment interest in an
amount and at a rate to be determined at the time of trial;

an order awarding Plaintiff all attorney’s fees, expert witness fees, and costs of
this action; and

an order awarding Plaintiff such other and further relief as this Court deems fit.

FOURTH CLAIM
FOR WILLFUL VIOLATION OF THE
FAMILY AND MEDICAL LEAVE ACT
(Against All Defendants)

As a fourth, separate and distinct claim, Plaintiff complains of Defendants as follows:

86.

Plaintiff hereby incorporates by reference as though fully set forth herein each and

every allegation of paragraph 1 through 57, inclusive of this Complaint.

87.

The acts described herein were engaged in with Defendants knowing or showing

reckless disregard for whether their conduct violated the FMLA. 29 U.S.C. § 2617(a)(1)(A)(ii).

WHEREFORE, Plaintiff seeks the following relief:

(a)

(b)

(c)

an order enjoining Defendants from engaging in further acts of willful violation of
the FMLA;

an order making Plaintiff whole by awarding liquidated damages pursuant to the
FMLA in an amount deemed appropriate by the Court;

a jury trial on this claim;

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(d) an order awarding Plaintiff prejudgment interest and post-judgment interest in an
amount and at a rate to be determined at the time of trial;

(e) an order awarding Plaintiff all attorney’s fees, expert witness fees, and costs of
this action; and

(fH) an order awarding Plaintiff such other and further relief as this Court deems fit.

FIFTH CLAIM
FOR VIOLATION OF THE RETALIATORY EMPLOYMENT DISCRIMINATION ACT
(Against All Defendants)

As a fifth, separate, distinct and independent claim, Plaintiff complains of Defendants, as
follows:

88. Plaintiff hereby incorporates, by reference, as though fully set forth herein each
and every allegation of paragraphs 1 through 57, inclusive of this Complaint.

89. At all times material herein, Defendant Gaylor Electric was a “person” as defined
in REDA, N.C. Gen. Stat. § 95-240(1);

90. Atall times material herein, Defendant Baker was a “person” as defined in
REDA, N.C. Gen. Stat. § 95-2401);

91. Defendants’ proposed deductions from his salary were illegal under the
North Carolina Wage and Hour Act, N.C. Gen. Stat. § 95-25.6, § 95-25.7, § 95-25.8, and
§ 95-25.13.

92. Plaintiff's actions in inquiring, complaining, providing information, and/or
initiating an inquiry regarding the proposed, unauthorized and illegal deductions from his
compensation, constituted protected activity under REDA, N.C. Gen. Stat. § 95-241(a)(1b).

93. Defendants terminated Plaintiff because of his protected activity in inquiring,
complaining, providing information, and/or initiating an inquiry regarding the proposed,
unauthorized and illegal deductions from his compensation.

94. Defendants’ termination of Plaintiff was unlawful, and in retaliation for his
protected activity under REDA, N.C. Gen. Stat. § 95-241(a)(1b).

95. Defendants’ termination of Plaintiff constituted a willful violation of REDA,
N.C. Gen. Stat. § 95-243(c).

WHEREFORE, Plaintiff seeks the following relief:

(a) a declaration that the practices and acts complained of herein are a violation of
REDA;

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an order enjoining Defendants trom engaging in violations of REDA, by
terminating his employment for motives that violate the statute;

an order directing that Plaintiff be reinstated to his previous position with
Defendant Gaylor Electric, with the salary and benefits to which he would have
been entitled, absent his termination, or alternatively, an order making Plaintiff
whole by awarding him front pay in an amount deemed appropriate by the
Court;

an order awarding Plaintiff back pay (including fringe benefits) from the date of
the discriminatory acts through the date of trial;

an order awarding Plaintiff front pay (including fringe benefits) from the date of
the trial forward;

an order awarding Plaintiff treble the amount of his lost wages and benefits, and
other economic damages proximately caused by Defendant’s unlawful conduct;

an order awarding Plaintiff compensatory damages;
@ jury trial on this claim;

an order awarding Plaintiff pre-judgment and post-judgment interest in an amount
determined at the time of trial;

an order awarding Plaintiff all attorney’s fees, expert witness fees, and costs of
this action; and

for such other relief as may be just, proper, and necessary to afford complete
relief to Plaintiff.

SIXTH CLAIM

FOR WRONGFUL DISCHARGE IN VIOLATION OF PUBLIC POLICY

(Against Defendant Gaylor Electric)

As a sixth, separate, distinct, and independent claim, Plaintiff complains of Defendant
Gaylor Electric as follows:

96.

Plaintiff incorporates by reference, as though fully set forth, each and every

allegation contained in paragraphs 1 — 57 inclusive, of this Complaint.

97. North Carolina law recognizes the public-policy exception to the employment
at-will doctrine.
98. North Carolina law prohibits the termination of employment for unlawful reasons

or purposes that contravene public policy.

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99. North Carolina law provides that public policy is violated when an employee is
fired in contravention of express policy declarations. Public policy has been defined as the
principle of law which hoids that no citizen can lawfully do that which has a tendency to be
injurious to the public or against the public good.

100. Defendant Gaylor Electric’s termination of Plaintiff's employment occurred for
reasons that violate public policy.

101. Defendant Gaylor Electric’s termination of Plaintiff's employment for inquiring,
complaining, providing information, and/or initiating an inquiry regarding the proposed
unauthorized and illegal deductions from his compensation, which would have violated the
North Carolina Wage and Hour Act, contravenes the public policies set forth in the
North Carolina Wage and Hour Act in that it is the public policy of the State of North Carolina to
promote the general welfare of the people by enacting and enforcing laws concerned with wage
levels of employees, hours of labor, and payment of earned wages.

102. Defendant Gaylor Eleciric’s termination of Plaintiff's employment for inquiring,
complaining, providing information, and/or initiating an inquiry regarding the proposed
unauthorized and illegal deductions from his compensation, which would have violated the
North Carolina Wage and Hour Act, also contravenes the public policies set forth in the
Retaliatory Employment Discrimination Act in that it is the public policy of the State of North
Carolina to promote the general welfare of the people by enacting and enforcing laws prohibiting
discrimination against employees for exercising their rights under that statute.

103. As adirect and proximate result of the wrongful acts of Defendant Gaylor
Electric, Plaintiff has suffered substantial losses in earnings and benefits, which he would have
received except for Defendant’s illegal conduct.

104, Asadirect and proximate result of the wrongful acts of Defendant Gaylor
Electric, Plaintiff sustained humiliation, anger, anxiety and grief, and is entitled to damages for
Defendant’s misconduct.

105. Because the conduct of Defendant Gaylor Electric constitutes gross, wanton,
malicious, reckless, and/or intentional violation of his rights under the public policy of
North Carolina, Plaintiff is entitled to punitive damages.

WHEREFORE, Plaintiff seeks the following relief:

(a) an order enjoining Defendant Gaylor Electric from engaging in further violations
of North Carolina public policy as set forth in the North Carolina Wage and Hour
Act and the Retaliatory Employment Discrimination Act;

(b) an order directing that Plaintiff be reinstated to his previous or an equivalent
position with Defendant Gaylor Electric, with the salary and benefits to which he
would have been entitled, absent his termination, or alternatively, an order making
Plaintiff whole by awarding him front pay in an amount deemed appropriate by

the Court;

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Case 1:19-cv-00346-MR-WCM Document 1-2 Filed 12/13/19 Page 14 of 37
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an order awarding Plaintiff back pay (including fringe benefits) from the date of
the illegal acts through the date of trial;

an order awarding Plaintiff front pay (including fringe benefits) from the date of
the trial forward;

an order awarding Plaintiff compensatory damages for his humiliation,
embarrassment, anger, anxiety, and grief:

an order awarding Plaintiff punitive damages;
a jury trial on this claim;

an order awarding Plaintiff pre-judgment and post-judgment interest in an amount
determined at the time of trial;

an order awarding Plaintiff all attorney’s fees, expert witness fees and costs of this
action; and

an order awarding Plaintiff such other and further relief as this Court deems
appropriate.

PLAINTIFF REQUESTS A JURY TRIAL OF ALL ISSSUES TRIABLE HEREIN

BY A JURY.

This [ftiday of September 2019.

LAW OFFICES OF GLEN C. SHULTS

By: Gb. d. nsat-

‘GLEN C. SHULTS

Attorneys for Plaintiff
DARRELL JEFFREY FORTUNE

959 Merrimon Avenue, Suite 204 (28804)
Post Office Box 18687

Asheville, North Carolina 28814
Telephone: (828) 251-9676

Facsimile: (828) 251-0648

E-Mail: shultslaw@bellsouth.net

North Carolina State Bar No. 25641

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Case 1:19-cv-00346-MR-WCM Document 1-2 Filed 12/13/19 Page 15 of 37
Exhibit - A

Case 1:19-cv-00346-MR-WCM Document 1-2 Filed 12/13/19 Page 16 of 37
 

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ALC. Seportment of Laber
Harriet S. Hopkins
Administrator
Retaliatory Employment Discrimination Bureau

CHERIE K. BERRY
Commissioner of Labor

August 1, 2019

BY CERTIFIED MAIL
70171450000147818671

Darrell Fortune c/o Glen Shults
PO Box 18687
Asheville, NC 28814

Re: Darrell Fortune v. Gaylor Electric, Inc
File No: 46478

Dear Darrell Fortune:

The Bureau has received your request that the Bureau issue you a right-to-sue letter regarding the above-
referenced Complaint. You request meets the requirements set forth in the Retaliatory Employment Discrimination

Act (REDA), N.C. Gen. Stat. §95-242(c),

THIS IS YOUR 90-DAY RIGHT-TO-SUE LETTER. Pursuant to N.C. Gen. Stat. §95-243, if you intend to pursue
a lawsuit against the Respondent, you must file a civil action in superior court within ninety (90) days
of the date of this letter. If you fail to file a civil action within this time, your right to sue the Respondent
under the provisions of REDA is lost.

if you want to seek legal advice regarding the requirements for filing a civil action, you may want to consult with an
attorney or the NC Lawyer Referral Service at the NC Bar Association at 1-800-662-7660 may be able to refer you

to an attorney.

With the issuance of this 90-Day Right-to-Sue letter, your Complaint file is now closed and the Bureau will take no
further action on your case. If you have questions, you may contact our Information Officer, Jay Cronley, as set out
below. A copy of this letter has been sent to Respondent,

Sincerely,

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lay Cronley
Information Officer

cc: Respondent
Complainant RTS Letter--Requested

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WCDOL

ALC. Department of Labor
Harriet S. Hopkins

CHERIE K. BERRY
Commissioner of Labor Administrator
, Retaliatory Employment Discrimination Bureau
August 1, 2019
BY CERTIFIED MAIL
70171450000147818671

Darrell Fortune
116 Ford Rd.-
Morganton, NC 28655

Re: Darrell Fortune v. Justin Baker
File No: 46480

Dear Darrell Fortune:

The Bureau has received your request that the Bureau issue you a right-to-sue letter regarding the above-
referenced Complaint. You request meets the requirements set forth in the Retaliatory Employment Discrimination
‘Act (REDA), N.C. Gen. Stat. §95-242{c).

THIS IS YOUR 90-DAY RIGHT-TO-SUE LETTER. Pursuant to N.C. Gen. Stat. §95-243, if you intend to pursue
a lawsuit against the Respondent, you must file a civil action in superior court within ninety (90) days
of the date of this letter. If you fail to file a civil action within this time, your right to sue the Respondent

under the provisions of REDA is fost.

if you want to seek legal advice regarding the requirements for filing a civil action, you may want to consult with an
attorney or the NC Lawyer Referral Service at the NC Bar Association at 1-800-662-7660 may be able to refer you

to an attorney.

With the issuance of this 90-Day Right-to-Sue letter, your Complaint file is now closed and the Bureau will take no
further action on your case. If you have questions, you may contact our Information Officer, Jay Croniley, as set out

below. A copy of this letter has been sent to Respondent.

Sincerely,

Kh

Jay Cronley
Infermation Officer

cc: Respondent
Complainant RTS Letter--Requested

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STATE OF NORTH\GA'

IN THE GENERAL COURT OF JUSTICE
SUPERIOR COURT DIVISION

 

 

COUNTY OF BURKE? bu FILE NO. 19-CVS-1276
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oe tf mr 3 A .
BURKE co. AS
SV eg )
DARRELL JEFFREY FORTUNE, )
)
Plaintiff, ) PLAINTIFF’S CONSENT TO FILING
)

VS.

GAYLOR ELECTRIC, INC.,
JUSTIN BAKER, individually,

Defendants.

 

) RELIEF

Shea Nee

ee a

) COMPLAINT FOR DAMAGES, AND
DECLARATORY AND INJUNCTIVE

I am the plaintiff in the above-captioned case. I have reviewed the attached Complaint
For Damages, And Declaratory And Injunctive Relief, and consent to the filing of the same
under the Fair Labor Standards Act, 29 U.S.C. § 216(b).

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This. day of September 2019.

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DARRELL JEF

FREY FORTUNE

Case 1:19-cv-00346-MR-WCM Document 1-2 Filed 12/13/19 Page 19 of 37
STATE OF NORTH CAROLINA... INTHE GENERAL COURT OF JUSTICE
i! f=) SUPERIOR COURT DIVISION

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COUNTY OF BURKE FILE NO. 19 CaS /A76

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BURKE CQ., C.8.C,
DARRELL JEFFREY FORTUNEpy ay)

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Plaintiff, )
) COMPLAINT FOR DAMAGES, AND
VS, ) DECLARATORY AND INJUNCTIVE
) RELIEF
GAYLOR ELECTRIC, INC., )
JUSTIN BAKER, individually, )
)
Defendants. )
)

 

Plaintiff, Darrell Jeffrey Fortune, complains and alleges as follows:
THE PARTIES

1, Plaintiff, Darrell Jeffrey Fortune (herein “Plaintiff? or “Fortune”), is, and at all
times material herein was, a resident of Burke County, and a citizen of North Carolina.

2. Defendant Gaylor Electtic, Inc., (herein “Defendant Gaylor Electric” or “Gaylor
Electric”) is, and at all times material herein was, a corporation incorporated in Indiana, and
authorized to do business in North Carolina, and engaged in electrical contracting with an office
located in Mooresville, North Carolina, and within Iredell County.

3. Defendant Justin Baker (herein “Defendant Baker” or “Baker”) is, on information
and belief, a resident of Iredell County, and a citizen of North Carolina. At all times material
herein, Defendant Baker occupied the position of Executive Vice-President, Southeast Region, at
Defendant Gaylor Electric’s office located in Mooresville, North Carolina, and within Iredell

County.
JURISDICTION

4, This is a civil action of which this Court has subject-matter jurisdiction under the
Fair Labor Standards Act, 29 U.S.C. § 216(b); the Family and Medical Leave Act, 29 U.S.C.
§2617(a)(2); the North Carolina Retaliatory Employment Discrimination Act, N.C. Gen. Stat.
§ 95-243(a); and N.C. Gen. Stat. § 7A-243 in that the amount in controversy exceeds $25,000.

5. At all times material herein, Defendant Gaylor Electric was an “[e]nterprise
engaged in commerce” for purposes of the Fair Labor Standards Act in that it had employees
engaged in interstate commerce, or had employees handling, selling, or otherwise working on

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goods or materials that had been moved in or produced for interstate commerce by any person,
and had an annual gross volume of sales in excess of $500,000, 29 U.S.C. § 203(r) and

§203(s)(1).

6. At all times material herein, Defendant Gaylor Electric engaged in interstate
commerce, and employed more than fifty (50) employees for each working day during each of
20 or more calendar workweeks within the current or preceding calendar year. Defendant
Gaylor Electric is, therefore, an “employer” within the meaning of the FMLA, 29 U.S.C,

§2611(4),

7. The Retaliatory Employment Discrimination Act (herein “REDA”) provides that
following issuance of a right-to-sue letter by the North Carolina Commissioner of Labor, an
employee may commence an action in the Superior Court of the county where the violation
occurred, where the complainant resides, or where the defendant resides or has its principal place
of business, N.C. Gen. Stat. § 95-243(a)

8. Plaintiff has satisfied all mandatory administrative prerequisites to filing his claim
under REDA, to wit:

(a) employment discrimination complaints were filed against Defendants with the
Employment Discrimination Bureau of the North Carolina Department of Labor on or about

February 21, 2018; and

(b) notifications of the right-to-sue from the North Carolina Department of Labor
were issued to Plaintiff on or about August 1, 2019, and this Complaint is being filed within
ninety (90) days of the receipt of the same. True and correct copies of the North Carolina
Department of Labor’s notifications of right-to-sue are attached hereto as Exhibit A.

VENUE

9, Venue is proper in the Superior Court for Burke County, North Carolina under
N.C, Gen, Stat. § 1-80; 1-82; and § 95-243(a).

FACTS SUPPORTING EACH CLAIM

10. Plaintiff began working for Defendant Gaylor Electric, at its Mooresville,
‘North Carolina offices, located at 177 Knob Hill Road, Mooresville, North Carolina, on or about

March 28, 2016.

11, Plaintiff was involuntarily terminated from employment with Defendant Gaylor
Electric on or about October 4, 2017.

12. Plaintiff was employed by Defendant Gaylor Electric for at least twelve (12)-

months, and for at least 1,250 hours during the twelve ( 12)-month period immediately preceding
the date he commenced leave, as described herein,

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13. At all times during his employment, Plaintiff was employed as a project engineer,
and was required to report io work at Defendant Gaylor Electric’s offices located in Mooresviile,
North Carolina.

14.“ Plaintiff worked at a worksite where Defendant Gaylor Electric employed at least
50 employees within a 75-mile radius.

15. Plaintiff received an initial starting annual salary of approximately $50,000. After
approximately six (6) months of employment, he received a $10,000 increase in his annual
salary. At his one-year anniversary date, Fortune received a salary increase of $2,000, so that his
annual salary was $62,000 at his termination,

16, At all times during his employment, Defendant Gaylor considered Plaintiff as
“exempt” under the provisions relating to the payment of overtime under the Fair Labor
Standards Act,

17, At all times material herein, Defendant Baker was the Executive Vice-President,
Southeast Region, of Defendant Gaylor Electric,

18. As the Executive Vice-President, Southeast Region, of Defendant Gaylor Electric,
Defendant Baker had the authority to exercise the following control over Plaintiff: (a) hire and/or
fire Plaintiff; (b) supervise and/or control Plaintiffs work schedule and conditions of
employment; (c) determine Plaintiffs compensation and method of payment of compensation:
and (d) maintain Plaintiff's employment records.

19. _ At all times material herein, Defendant Gaylor Electric maintained a “Paid Time
Off” (herein “PTO”) policy under which Plaintiff was allowed seven (7) days of PTO in 2017.

20. As of Monday, September 25, 2017, Plaintiff had exhausted all PTO available to
him for that year.

21. On September 25, 2017, Plaintiff developed a severe toothache as a result of a
crown breaking below his gum line.

22. On that date, Plaintiff left work at approximately 10:45 a.m., with permission, for
a dental appointment.

23. On that date, Plaintiff was examined by Todd Kincer, DDS, who determined that
Plaintiff's lower wisdom teeth were impacted, and needed to be removed as soon as possible.

24, Plaintiff made an appointment with an oral surgeon, Bryan R. Neuwirth, DDS,
MD, for Tuesday, September 26, 2017.

25, On September 26, 2017, Plaintiff worked until approximately 1:30 p.m., at which
point he left work, with permission, for the appointment with Dr. Neuwirth.

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26. During the appointment on September 26, 2017, Dr. Neuwirth, scheduled oral
surgery for Plaintiff for Wednesday, September 27, 2017.

27, Plaintiff advised Defendant Gaylor Electric’s management about the upcoming
surgery on September 27, 2017, and his need to take time off from work.

28. On September 27, 2017, Plaintiff had oral surgery, during which his impacted
wisdom teeth were removed.

29. On September 27, 2017, Dr. Neuwirth issued Plaintiff a memorandum to the
attention of Defendant Gaylor Electric and Fortune’s immediate supervisor, Russ Hullinger,
stating that Fortune had oral surgery on September 27, 2017, and should be excused from work
on September 27 and 28, 2017.

30, Plaintiff provided the memorandum from Dr, Neuwirth dated September 27,
2017, to Defendant Gaylor Electric upon his return to work.

31, Plaintiff took the day off from work, with permission, on September 27, 2017, for
the oral surgery.

32. On Thursday, September 28, 2017, Plaintiff was experiencing significant pain
from the oral surgery, but nevertheless reported to work briefly for a monthly meeting with his
managers in order fo review his projects.

33. At the conclusion of the meeting, and after completing some paperwork, Plaintiff
was allowed to return home for the remainder of the day, with the permission of Defendant
Baker.

34, On Friday, September 29, 2017, Plaintiff continued to experience significant pain
from the wisdom teeth extraction, and was unable to report to work, or perform other regular
daily activities, including but not limited to driving without impairment.

35, On that date, Plaintiff sent a text message to his immediate supervisor,
Russ Hullinger, stating that he was unable to report to work, and requesting permission to work
away from the office,

36. —_ Ross Hullinger called Plaintiff in response to the text message, and advised
Fortune that he could work away from the office on that date.

37, Plaintiff worked away from the Defendant Gaylor Electric’s offices from
approximately 7:00 a.m. until approximately 2:40 p.m. on September 29, 2017.

38, Plaintiff was off from work over the weekend of Saturday through Sunday,
September 30 — October 1, 2017.

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39. Plaintiff continued to experience significant pain from the wisdom teeth
extraction, and was unable to perform any work, or regular daily activities, including but not
limited to driving without impairment, over the weekend of September 30 — October 1, 2017.

40. On Monday, October 2, 2017, Plaintiff vomited in his car during his commute to
work.

41. On October 2, 2017, Plaintiff called Defendant Gaylor Electric’s attendance line,
and left a message that he would be unable to report to work that day because of the continuing
pain from the tooth extraction.

42. On October 2, 2017, Plaintiff was unable to perform any work or regular daily
activities.

43, On Tuesday, October 3, 2017, Plaintiff appeared for work at his regular time, and
worked the entire day,

44, On the morning of October 3, 2017, Plaintiff received an e-mail from Kathy Paris,
a corporate administrative assistant, stating that PTO leave had been approved for
September 27 ~ 29, 2017, even though Fortune had previously exhausted his allotted PTO leave,
and had no PTO leave available to him for those dates.

45. After receiving the aforementioned e-mail, Plaintiff called Kylie Burrell, a
human-resources representative at Defendant Gaylor Electric’s headquarters, located in
Indianapolis, Indiana. During the conversation, Burrell informed Fortune that a PTO form had

been submitted for him, even though he was unaware of that fact.

46. Later that same day; Plaintiff called Jean Benfield, an administrative assistant to
Defendant Baker, who informed Fortune that Baker had directed her to submit a PTO form for
him.

47, On October 3, 2017, Plaintiff was directed to attend a meeting with Defendant
Baker, Ross Hullinger, and Ron Clayton, who was the firm’s general superintendent,

48. During the meeting, Plaintiff was told that a PTO form had been completed for
Fortune for the dates of Wednesday through Friday, September 27 — 29, 2017, because he did not
work an entire workday on those dates. Defendant Baker further stated that Fortune would only

be paid for twenty (20) hours of work that week.
49. During the meeting, Plaintiff disputed the proposed compensation for twenty (20)
hours, and told Defendant Baker, Ross Hullinger, and Ron Cayton that he was entitled to be paid

for thirty-two (32) hours because he had worked all or part of the workday on each day during
the period of Monday — Tuesday and Thursday — Friday, September 25 — 26 and 28 — 29, 2017.

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50. Plaintiff andthe managers at the meeting were unable to reach agreement on the
proper compensation of Fortune for the period of Monday — Tuesday and Thursday — Friday,
September 25 — 26 and 28 — 29, 2017.

51, | On Wednesday, October 4, 2017, at approximately 9:20 a.m., Plaintiff sent an
e-mail to Kathy Paris and Kylie Burrell, stating that he was entitled to be paid his full salary for
the period of Monday — Tuesday and Thursday ~ Friday, September 25 — 26 and 28 — 29, 2017,
without any deductions, Fortune did not receive any response to the first e-mail, so he sent a
second e-mail, at approximately 11:30 a.m. that same day, asserting the same claim, and
clarifying the dates for which he should have been paid.

52. Shortly after Plaintiff sent the second e-mail on October 4, 2017, Defendant Baker
entered Fortune’s office, along with Westin Short, who was vice-president of engineering, and
told Fortune that the company was going to pay him for forty (40) hours of work for the previous
week, but that he was terminated immediately.

53. Plaintiff asked Defendant Baker and Short for the reason for his termination, but
never received an answer, and left the office after retrieving his personal property,

54, On information and belief, Defendants Gaylor Electric and Baker jointly made the
decision to terminate Plaintiff.

55. Asa direct and proximate result of Defendants’ actions, Plaintiff has suffered, and
will continue to suffer, the loss of wages and benefits that he earned, and expected to earn, from
his employment at Defendant Gaylor Electric.

56. Asa direct and proximate result of Defendants’ actions, Plaintiff has suffered
emotional distress, including but not limited to humiliation, anxiety, grief, and sleeplessness.

27. Defendants’ termination of Plaintiff was willful, and malicious, and with
knowledge that his termination was in violation of applicable federal and state law.

FIRST CLAIM
FOR VIOLATION OF THE FAIR LABOR STANDARDS ACT
(Against All Defendants)

As a first, separate, distinct and independent claim, Plaintiff complains of Defendants, as
follows:

58. Plaintiff hereby incorporates, by reference, as though fully set forth herein each
and every allegation of paragraphs 1 through 57, inclusive of this Complaint.

59,  Atall times material herein, Plaintiff was an “employee” as defined in the Fair
Labor Standards Act, 29 U.S.C. § 203(e)(1).

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60. Atal times material herein, Plaintiff was a salaried employee whose
compensation and job duties as a project engineer qualified him as “exempt” from the overtime
provisions of the Fair Labor Standard Act, 29 U.S.C. § 213(a)(1).

61, At ail times material herein, Defendant Gaylor Electric was an “employer” as
defined in the Fair Labor Standards Act, 29 U.S.C. § 203(d).

62.  Atall times material herein, Defendant Gaylor Electric was an “[e}nterprise
engaged in commerce” as defined in the Fair Labor Standards Act, 29 U.S.C, § 203(b), (r)(1),
and (s)(1).

63. At all times material herein, Defendant Baker was a person acting directly or
indirectly in the interest of Defendant Gaylor Electric, and had the authority to exercise the
following control over Plaintiff: (a) hire and/or fire Plaintiff: (b) supervise and/or control
Plaintiff's work schedule and conditions of employment; (c) determine Plaintiff's compensation
and method of payment of compensation; and (d) maintain Plaintiff's employment records,

64. Plaintiff was entitled to payment for thirty-two (32) hours of work for the period
of Monday ~ Tuesday and Thursday — Friday, September 25 -- 26 and 28 ~ 29, 2017.

65. Plaintiff rejected Defendants’ proposed compensation for twenty (20) hours of
work for the period of Monday — Tuesday and Thursday — Friday, September 25 - 26 and 28 ~
29, 2017,

66. Defendants’ proposal to compensate Plaintiff for twenty (20) hours of work for
the period of Monday — Tuesday and Thursday — Friday, September 25 — 26 and 28 — 29, 2017,
constituted an illegal partial-day deduction from his salary under the Fair Labor Standards Act.

67. Plaintiff objected, orally and electronically, and in good faith, to the proposed
deduction from his salary .

68. Plaintiff demanded, orally and electronically, and in good faith, payment of his
salary for thitty-two (32) hours of work for the period of Monday — Tuesday and Thursday —
Friday, September 25 — 26 and 28 — 29, 2017.

69. Defendants terminated Plaintiff in retaliation for his objections to the Defendants’
proposed compensation for twenty (20) hours of work for the period of Monday — Tuesday and
Thursday — Friday, September 25 — 26 and 28 — 29, 2017.

70. Defendants terminated Plaintiff in retaliation for his demands to be paid for thirty-
two (32) hours of work for the period of Monday — Tuesday and Thursday — Friday,
September 25 — 26 and 28 — 29, 2017,

71, Defendants’ termination of Plaintiff was unlawful, and in retaliation for protected
activity under the Fair Labor Standards Act, 29 U.S.C. § 215(a)(3).

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Case 1:19-cv-00346-MR-WCM Document 1-2 Filed 12/13/19 Page 26 of 37
WHEREFORE, Plaintiff seeks the following relief:

(a)

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an order enjoining Defendants from further violations of the Fair Labor Standards
Act;

an order directing that Plaintiff be reinstated to his previous or an equivalent
position with Defendant Gaylor Electric, with the salary and benefits to which he
would have been entitled, absent his termination, or alternatively, an order making
Plaintiff whole by awarding him front pay in an amount deemed appropriate by
the Court;

an order awarding Plaintiff back pay (including fringe benefits) from the
date of the illegal acts through the date of trial, or alternatively, making
Plaintiff whole by awarding him front pay in an amount deemed
appropriate by the Court;

an order awarding Plaintiff compensatory damages for his humiliation,
embarrassment, anger, anxiety, and grief:

an order awarding Plaintiff liquidated damages:
an order awarding Plaintiff punitive damages:

a jury trial on this claim;

an order awarding Plaintiff pre-judgment and post-judgment interest in an
amount determined at the time of trial;

an order awarding Plaintiff all attorney’s fees, expert witness fees and
costs of this action; and

an order awarding Plaintiff such other and further relief as this Court
deems appropriate,

SECOND CLAIM

FOR INTERFERENCE WITH PLAINTIFF’S RIGHTS UNDER THE

FAMILY AND MEDICAL LEAVE ACT
(Against All Defendants)

As a second, separate and distinct claim, Plaintiff complains of Defendants as follows:

72.

Plaintiff hereby incorporates by reference as though fully set forth herein each and

every allegation of paragraphs 1 through 57, inclusive, of this Complaint.

73.

Plaintiff worked for Defendant Gaylor Electric at least 1,250 hours within the

twelve (12) months prior to the date that he qualified for leave under the FMLA: worked at a

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Case 1:19-cv-00346-MR-WCM Document 1-2 Filed 12/13/19 Page 27 of 37
worksite at which Gaylor Electric employed at least 50 employees within a 75 mile radius; and
was, therefore, an “eligible employee” as defined by the FMLA, 29 U.S.C. §2611(2).

74. _ Atall times material herein, Defendant Baker was a person acting directly or
indirectly in the interest of Defendant Gaylor Electric, and had the authority to exercise the
following control over Plaintiff: (a) hire and/or fire Plaintiff: (b) supervise and/or control
Plaintiff's work schedule and conditions of employment; (c) determine Plaintiff's compensation
and method of payment of compensation; and (d) maintain Plaintiff's employment records.

75. Plaintiff suffered from a “serious health condition” as defined in the FMLA, 29
U.S.C. § 2611(11), and the applicable regulations.

76, Plaintiff was entitled to leave pursuant to the FMLA, at least beginning on or
about September 27, 2017. 29 U.S.C. § 2612(a)(1)(D).

77. Defendants interfered with, restrained, and/or denied Plaintiff's rights under the
FMLA by, inter alia, failing to provide Plaintiff with adequate notice of his rights and
responsibilities under the FMLA following Fortune’s notice of his need to take time off because
of his serious health condition; failing to provide Fortune with the leave to which he was entitled
under the FMLA; failing to reinstate Fortune to his previous or an equivalent position;
terminating Fortune’s employment when he sought to take leave under the FMLA; and

terminating Fortune in retaliation for his use of FMLA leave. 29 U.S.C. § 2615 (a)(1).

78. Asa direct and proximate result of the wrongful acts of Defendants, Plaintiff has
suffered substantial losses in earnings and benefits, which he would have received except for
Defendants’ misconduct.

WHEREFORE, Plaintiff seeks the following relief:

(a) anorder enjoining Defendants from engaging in further acts of interference with
Plaintiff and other employees in the exercise of their rights under the FMLA;

(b) an order directing that Plaintiff be reinstated to his previous position as project
engineer at Defendant Gaylor Electric’s Mooresville, North Carolina facility, or a
comparable position thereto, with the salary and benefits to which he would have
been entitled, absent his termination, or alternatively, an order making Plaintiff
whole by awarding him front pay in an amount deemed appropriate by the Court;

(¢) an order awarding Plaintiff back pay (including fringe benefits) from the date of
the wrongful acts alleged through the date of trial;

(dq) = a jury trial on this claim;

(e) an order awarding Plaintiff prejudgment interest and post-judgment interest in an
amount and at a rate to be determined at the time of trial;

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Case 1:19-cv-00346-MR-WCM Document 1-2 Filed 12/13/19 Page 28 of 37
(f) an order awarding Plaintiff all attorney’s fees, expert witness fees, and costs of
this action; and

(g) an order awarding Plaintiff such other and further relief as this Court deems fit,

THIRD CLAIM
FOR DISCRIMINATION/RETALIATION AGAINST PLAINTIFF UNDER THE
FAMILY AND MEDICAL LEAVE ACT
(Against All Defendants)

As a third, separate and distinct claim, Plaintiff complains of Defendants as follows:

79. Plaintiff hereby incorporates by reference as though fully set forth herein each and
every allegation of paragraph 1 through 57, inclusive of this Complaint.

80, Plaintiff worked for Defendant Gaylor Electric at least 1,250 hours within the
twelve (12) months prior to the date that he qualified for leave under the FMLA; worked at a
worksite at which Gaylor Electric employed at least 50 employees within a 75 mile radius; and
was, therefore, an “eligible employee” as defined by the FMLA, 29 U.S.C. §261 1(2).

81. At all times material herein, Defendant Baker was a person acting directly or
indirectly in the interest of Defendant Gaylor Electric, and had the authority to exercise the
following control over Plaintiff: (4) hire and/or fire Plaintiff (b) supervise and/or control
Plaintiff's work schedule and conditions of employment; (c) determine Plaintiff's compensation
and method of payment of compensation; and (d) maintain Plaintiff's employment records.

82. _— Plaintiff suffered from a “serious health condition” as defined in the FMLA, 29
U.S.C. § 2611(11), and the applicable regulations.

83. Plaintiff was entitled to leave pursuant to the FMLA, at least beginning on or
about September 27, 2017. 29 U.S.C. § 2612(aX(1)(D).

84. Defendants discriminated and/or retaliated against Plaintiff by, inter alia, denying
Plaintiff family and medical leave to which he was entitled under the FMLA; failing to reinstate
Plaintiff to his previous or an equivalent position; terminating Plaintiffs employment when he
sought to take leave under the FMLA to care for his own serious health condition; terminating
Fortune in retaliation for his use of FMLA leave; and terminating Fortune for his opposition to
Defendants’ unlawful employment practices under the FMLA. 29 U.S.C. § 2615 (a)(2).

85. Asa direct and proximate result of the wrongful acts of Defendants, Plaintiff has
suffered substantial losses in earnings and benefits, which he would have received except for
Defendants’ misconduct.

10
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WHEREFORE, Plaintiff seeks the following relief:

(a)

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(g)

an order enjoining Defendants from engaging in further acts of discrimination
against Plaintiff and other employees as a result of the exercise of their rights
under the FMLA;

an order directing that Plaintiff be reinstated to his previous position as project
manager at Defendant Gaylor Electric’s Mooresville, North Carolina facility, or a
comparable position thereto, with the salary and benefits to which he would have
been entitled, absent his termination, or alternatively, an order making Plaintiff
whole by awarding him front pay in an amount deemed appropriate by the Court;

an order awarding Plaintiff back pay (including fringe benefits) from the date of
the discriminatory acts alleged through the date of trial;

a jury trial on this claim;

an order awarding Plaintiff prejudgment interest and post-judgment interest in an
amount and at a rate to be determined at the time of trial;

an order awarding Plaintiff all attorney’s fees, expert witness fees, and costs of:
this action; and

an order awarding Plaintiff such other and further relief as this Court deems fit.

FOURTH CLAIM
FOR WILLFUL VIOLATION OF THE
FAMILY AND MEDICAL LEAVE ACT
(Against All Defendants)

As a fourth, separate and distinct claim, Plaintiff complains of Defendants as follows:

86.

Plaintiff hereby incorporates by reference as though fully set forth herein each and

every allegation of paragraph 1 through 57, inclusive of this Complaint.

87,

The acts described herein were engaged in with Defendants knowing or showing

reckless disregard for whether their conduct violated the FMLA. 29 U.S.C. § 2617(a)(1)(A)Gii).

WHEREFORE, Plaintiff seeks the following relief:

(a)

(b)

(c)

an order enjoining Defendants from engaging in further acts of willful violation of
the FMLA;

an order making Plaintiff whole by awarding liquidated damages pursuant to the
FMLA in an amount deemed appropriate by the Court;

a jury trial on this claim;

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(d) an order awarding Plaintiff prejudgment interest and post-judgment interest in an
amount and at a rate to be determined at the time of trial;

(e) an order awarding Plaintiff all attorney's fees, expert witness fees, and costs of
this action; and

(f) an order awarding Plaintiff such other and further relief as this Court deems fit.
FIFTH CLAIM

FOR VIOLATION OF THE RETALIATORY EMPLOYMENT DISCRIMINATION ACT
(Against All Defendants)

As a fifth, separate, distinct and independent claim, Plaintiff complains of Defendants, as
follows:

 

88. Plaintiff hereby incorporates, by reference, as though fully set forth herein each
and every allegation of paragraphs 1 through 57, inclusive of this Complaint.

89. Atall times material herein, Defendant Gaylor Electric was a “person” as defined
in REDA, N.C. Gen. Stat. § 95-240(1);

90. Atall times material herein, Defendant Baker was a “person” as defined in
REDA, N.C. Gen. Stat. § 95-240(1);

91. Defendants’ proposed deductions from his salary were illegal under the
North Carolina Wage and Hour Act, N.C. Gen. Stat, § 95-25.6, § 95-25.7, § 95-25.8, and
§ 95-25.13.

92. Plaintiff's actions in inquiring, complaining, providing information, and/or
initiating an inquiry regarding the proposed, unauthorized and illegal deductions from his
compensation, constituted protected activity under REDA, N.C. Gen. Stat. § 95-241(a)(1b).

93. Defendants terminated Plaintiff because of his protected activity in inquiring,
complaining, providing information, and/or initiating an inquiry regarding the proposed,
unauthorized and illegal deductions from his compensation.

04. Defendants’ termination of Plaintiff was unlawful, and in retaliation for his
protected activity under REDA, N.C. Gen. Stat. § 95-241(a)(1b).

95. Defendants’ termination of Plaintiff constituted a willful violation of REDA,
N.C. Gen. Stat, § 95-243(c),

WHEREFORE, Plaintiff seeks the following relief:

(a) a declaration that the practices and acts complained of herein are a violation of
REDA;

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(b) an order enjoining Defendants from engaging in violations of REDA, by
terminating his employment for motives that violate the statute;

(c) an order directing that Plaintiff be reinstated to his previous position with
Defendant Gaylor Electric, with the salary and benefits to which he would have
been entitled, absent his termination, or alternatively, an order making Plaintiff
whole by awarding him front pay in an amount deemed appropriate by the
Court;

(dq) an order awarding Plaintiff back pay (including fringe benefits) from the date of
the discriminatory acts through the date of trial;

(e) an order awarding Plaintiff front pay (including fringe benefits) from the date of
the trial forward:

(f) an order awarding Plaintiff treble the amount of his lost wages and benefits, and
other economic damages proximately caused by Defendant’s unlawful conduct;

(g) an order awarding Plaintiff compensatory damages;
(h) = a jury trial on this claim;

Gj} an order awarding Plaintiff pre-judgment and post-judgment interest in an amount
determined at the time of trial;

Gj) an order awarding Plaintiff all attorney’s fees, expert witness fees, and costs of
this action; and

(k) for such other relief as may be just, proper, and necessary to afford complete
relief to Plaintiff.

SIXTH CLAIM
FOR WRONGFUL DISCHARGE IN VIOLATION OF PUBLIC POLICY
(Against Defendant Gaylor Electric)

As a sixth, separate, distinct, and independent claim, Plaintiff complains of Defendant
Gaylor Electric as follows:

96. Plaintiff incorporates by reference, as though fully set forth, each and every
allegation contained in paragraphs 1 — 57 inclusive, of this Complaint.

97, North Carolina law recognizes the public-policy exception to the employment
at-will doctrine.

98. North Carolina law prohibits the termination of employment for unlawful reasons
or purposes that contravene public policy.

13

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99. North Carolina law provides that public policy is violated when an employee is
fired in contravention of express policy declarations. Public policy has been defined as the
principle of law which holds that no citizen can lawfully do that which has a tendency to be

injurious to the public or against the public good.

100. Defendant Gaylor Electric’s termination of Plaintiff's employment occurred for
reasons that violate public policy.

101. Defendant Gaylor Electric’s termination of Plaintif? 8 employment for inquiring,
complaining, providing information, and/or initiating an inquiry regarding the proposed
unauthorized and illegal deductions from his compensation, which would have violated the
North Carolina Wage and Hour Act, contravenes the public policies set forth in the
North Carolina Wage and Hour Act in that it is the public policy of the State of North Carolina to
promote the general welfare of the people by enacting and enforcing laws concerned with wage
lzvels of employees, hours of labor, and payment of earned wages.

102. Defendant Gaylor Electric’s termination of Plaintiffs employment for inquiring,
complaining, providing information, and/or initiating an inquiry regarding the proposed
unauthorized and illegal deductions from his compensation, which would have violated the
North Carolina Wage and Hour Act, also contravenes the public policies set forth in the
Retaliatory Employment Discrimination Act in that it is the public policy of the State of North
Carolina to promote the general welfare of the people by enacting and enforcing laws prohibiting
discrimination against employees for exercising their rights under that statute.

103, As a direct and proximate result of the wrongful acts of Defendant Gaylor
Electric, Plaintiff has suffered substantial losses in earnings and benefits, which he would have
received except for Defendant’s illegal conduct.

104, Asadirect and proximate result of the wrongful acts of Defendant Gaylor
Electric, Plaintiff sustained humiliation, anger, anxiety and grief, and is entitled to damages for
Defendant’s misconduct.

105. Because the conduct of Defendant Gaylor Electric constitutes gross, wanton,
malicious, reckless, and/or intentional violation of his rights under the public policy of
North Carolina, Plaintiff is entitled to punitive damages.

WHEREFORE, Plaintiff seeks the following relief:

(a) an order enjoining Defendant Gaylor Electric from engaging in further violations
of North Carolina public policy as set forth in the North Carolina Wage and Hour
Act and the Retaliatory Employment Discrimination Act;

(b) an order directing that Plaintiff be reinstated to his previous or an equivalent
position with Defendant Gaylor Electric, with the salary and benefits to which he
would have been entitled, absent his termination, or alternatively, an order making
Plaintiff whole by awarding him front pay in an amount deemed appropriate by
the Court;

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an order awarding Plaintiff back pay (including fringe benefits) from the date of
the illegal acts through the date of trial:

an order awarding Plaintiff front pay (including fringe benefits) from the date of
the trial forward;

an order awarding Plaintiff compensatory damages for his humiliation,
embarrassment, anger, anxiety, and grief:

an order awarding Plaintiff punitive damages;
ajury trial on this claim;

an order awarding Plaintiff pre-judgment and post-judgment interest in an amount
determined at the time of trial;

an order awarding Plaintiff all attorney’s fees, expert witness fees and costs of this
action; and

an order awarding Plaintiff such other and further relicf as this Court deems
appropriate.

PLAINTIFF REQUESTS A JURY TRIAL OF ALL ISSSUES TRIABLE HEREIN

BY A JURY.

This Kttday of September 2019,

LAW OFFICES OF GLEN C. SHULTS

By: G Le d. nat
GLEN C. SHULTS

Attormeys for Plaintiff
DARRELL JEFFREY FORTUNE

959 Merrimon Avenue, Suite 204 (28804)
Post Office Box 18687

Asheville, North Carolina 28814
Telephone: (828) 251-9676

Facsimile: (828) 251-0648

E-Mail: shultslaw@bellsouth.net

North Carolina State Bar No. 25641

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Exhibit - A

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PP

ALE. Department-of Laber

CHERIE K. BERRY Harriet S. Hopkins

Commissioner of Labor Administrator
Retaliatory Employment Discrimination Bureau

August 1, 2019
BY CERTIFIED MAIL
70171450000147818671

Darrall Fortune c/o Glen Shults
PO Box 18687
Asheville, NC 28814

Re: Darrell Fortune v. Gaylor Electric, Inc
Fila No: 46478

Dear Darrell Fortune:

The Bureau has received your request that the Bureau issue you a right-to-sue letter regarding the above-
referenced Complaint. You request meets the requirements set forth in the Retaliatory Employment Discrimination
Act (REDA), N.C. Gen. Stat. §95-242{(c}.

THIS IS YOUR 90-DAY RIGHT-TO-SUE LETTER. Pursua nt to N.C. Gen. Stat. §95-243, if you intend to pursue
a lawsuit against the Respondent, you must file a civil action In superior court within ninety (90) days
of the date of this letter. If you fail to file a civil action within this time, your right to sue the Respondent
under the provisions of REDA Is lost.

lf you want to seek legal advice regarding the requirements for filing a civil action, you may want to consult with an
attomey or the NC Lawyer Referral Service at the NC Bar Association at 1-800-662-7660 may be able to refer you

to an attorney.

With the issuance of this 90-Day Right-to-Sue letter, your Complaint file is now closed and the Bureau will take no
further action on your case. If you have questions, you may contact our Information Officer, Jay Cronley, as set out
below, A copy of this letter has been sent to Respondent.

Sincerely,

bh’

Jay Cronley
information Officer

cc; Respondent :
Complcinant ATS Letter-Requested |

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NCDO

ALC, Department: of Labear

CHERIE K. BERRY Harriet S. Hopkins

Commissioner of Labor Administrator
Retaliatory Employment Discrimination Bureau

August 1, 2019
BY CERTIFIED MAIL
70171450000147818671

Darrell Fortune
116 Ford Rd,-
Morganton, NC 28655

Re: Darrell Fortune v. Justin Baker
File No: 46480

Dear Darrell Fortune:

The. Bureau has received your request that the Bureau issue you a right-to-sue letter regarding the above-
referenced Complaint. You request meets the requirements set forth In the Retalilatory Employment Discrimination
-Act (REDA), N.C. Gen. Stat. §95-242(c),

THIS IS YOUR 90-DAY RIGHT-TO-SUE LETTER. Pursuant to N.C. Gen. Stat. §95-243, if you intendto pursue
a lawsuit against the Respondent, you must file a civil action in superior court within ninety (90) days
of the date of this letter. If you fail to file a civil action within this time, your right to sue the Respondent
under the provisions of REDA Is lost.

If you want to seek legal advice regarding the requirements for filing a clvil action, you may want to consult with an
attorney or the NC Lawyer Referral Service at the NC Bar Association at 1-800-662-7660 may be able to refer you

to an attorney,

With the issuance of this 90-Day Right-to-Sue letter, your Camplaint file is now closed and the Bureau will take ho

further action on your case. If you have questions, you may contact our Information Officer, Jay Cronley, as set out
below. A copy of this letter has been sent to Resrxjndent

fir

Jay Cronley
Information Officer

cc: Respondent
Complainant RTS Letter--Requested

 

1101 Mail Service Center + Raleigh « NC + 27699-1101

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